      Case 1:17-cr-00045-PLM ECF No. 29 filed 07/03/17 PageID.146 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,                                            No. 1:17-CR-45

vs.                                                           Hon. Paul L. Maloney
                                                              United States District Judge
KEVIN JOHN GRIMM,

      Defendant.
_____________________________/

                     GOVERNMENT’S SENTENCING MEMORANDUM

        Defendant Kevin Grimm is a 62-year-old electrical engineer with a Master’s degree from

Western Michigan University and a Bachelor of Science degree in electrical engineering from

Michigan Technological University. He is a licensed Professional Engineer and electrician, and

provides engineering consulting services for electrical and power companies. For more than five

years, Defendant billed Herman Miller Incorporated (“HMI”) for natural gas services that his

company, KJ Gas Transportation LLC, never provided. Yet, with all of his education, training,

and experience, Defendant would have this Court believe that he did not know that he was

defrauding HMI until the end of the scheme, and did not even know what the word “fraud” meant

in October 2015 when HMI representatives first confronted him about his fraudulent invoices.

        Defendant’s statements to this Court are dangerously close to failing to accept

responsibility for his role in the scheme. (R.28: PSR ¶58) He now claims that it was not until late

2013 — more than three years after the fraudulent billing scheme commenced — that he “started

[to] seriously question[] the legitimacy of this business . . . .” (Id., ¶58 at 15) Defendant contends

that he merely saw “red flags,” which he deliberately chose to ignore because the money was too

good to further investigate and confirm that he was committing a massive fraud with Jerry Akers.
    Case 1:17-cr-00045-PLM ECF No. 29 filed 07/03/17 PageID.147 Page 2 of 7



Defendant also would have this Court believe that his ongoing “suspicion” that he was actually

not ordering or transporting gas for HMI was finally “confirmed” by Akers on November 19, 2015,

well after HMI had terminated its relationship with him. (Id., ¶58 at 16)

       The government is not buying what Defendant is selling.

       Defendant knew that he was participating in a scheme to defraud HMI with Akers long

before the scheme ended. The basic facts demonstrate that Defendant knew almost immediately

that, despite whatever legitimate business plan he may have discussed with Akers, the fraud started

with the first fake invoice in 2010:

           •   Defendant’s company existed solely on paper.        Defendant had absolutely no

               training, experience, or ability to provide HMI with any natural gas ordering or

               transportation services whatsoever, from the inception of the scheme in 2010 until

               its completion in 2015.

           •   Defendant did nothing for the money he took from HMI, and therefore knew he had

               no gas-related expenses. The income he was receiving from HMI was pure profit.

           •   Defendant had no gas transportation trucks or pipelines; no employees; and no

               physical presence.      He operated the business on a computer at his personal

               residence.

           •   The only time Defendant spent working on HMI matters (other than managing the

               money he stole from HMI) was creating the fake invoices and e-mailing them to

               HMI each month using information supplied to him by Akers. When the FBI

               executed a search warrant at his home and interviewed him, Defendant admitted

               that he “was paid over $1 million dollars for not doing anything.”




                                                 2
    Case 1:17-cr-00045-PLM ECF No. 29 filed 07/03/17 PageID.148 Page 3 of 7



           •   Month after month, Defendant simply opened an e-mail from Akers containing gas

               delivery numbers, converted the information into a KJ Gas Transportation invoice,

               and e-mailed the invoice to HMI with the message: “Thanks for the work!”

               (Exhibit 1: Mar. 2, 2015 e-mail to HMI attaching invoice)

           •   Defendant even pocketed about $100,000 in “sales tax” he charged HMI instead of

               paying those monies to the State of Michigan like a real business.

           •   When HMI representatives first inquired about his business and invoices,

               Defendant would not discuss his business with them. When one of the investigators

               used the word “fraud,” Defendant asked them to leave his property.

(R.28: PSR ¶¶24, 27, 29, 37)

       Defendant appears to invoke the legal doctrine of “deliberate ignorance” to attempt to

minimize his role in the offense. Defendant does not dispute that he is legally responsible for his

actions, but wants this Court to believe that he deliberately ignored the high probability that he

was executing a scheme to defraud HMI of money and closed his eyes to what was obvious. See,

e.g., Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068-69 (2011) (willful blindness

is “well-established in criminal law” because defendants cannot “deliberately shield[] themselves

from clear evidence of critical facts that are strongly suggested by the circumstances.”); United

States v. Mitchell, 681 F.3d 867, 876 (6th Cir. 2012) (deliberate ignorance jury instruction, also

known as the “ostrich” instruction, is appropriate when defendant claims a lack of guilty

knowledge and the evidence support an inference of deliberate ignorance).

       This Court should not believe that Jerry Akers was a criminal mastermind who initially

tricked Defendant into participating in the fraud. Defendant is not the gullible fool he attempts to

portray. He is highly educated and trained. (R.28: PSR ¶¶98-100) He conceived of and operated



                                                 3
    Case 1:17-cr-00045-PLM ECF No. 29 filed 07/03/17 PageID.149 Page 4 of 7



a successful real energy consulting business, Power Systems Solutions, that performed real

consulting work. (Id., ¶104) Before that, he was employed as a senior sales engineer, including

at General Electric. (Id., ¶¶105-106) Defendant knows how legitimate businesses operate and

knew that a gas transportation company working for a large manufacturer like HMI could not

generate $1.77 million in revenues with no cost of goods sold or other direct operating expenses.

It defies logic and common sense that a successful businessman like Defendant would believe that

he could run a natural gas ordering and distribution business with no employees, infrastructure, or

service-related expenses.

       Second, when Akers was confronted by HMI about the KJ Gas contract, Akers admitted

that it was a scam and told investigators that Defendant also knew that the KJ Gas invoices were

fraudulent: “Both Kevin Grimm and I knew that the billing and the subsequent payments from

HMI were fraudulent.” (Id., ¶28 at 8) Although the government does not dispute that Akers and

Defendant may have initially discussed forming a legitimate business to provide real services to

HMI, any legitimacy in the venture disappeared when Grimm started billing HMI for services he

never performed, knew nothing about, and incurred no expenses to provide.

       Third, Defendant’s claim that he does not fully understand the meaning of the word “fraud”

is a phony attempt to explain why he asked HMI investigators to leave his property when he was

first confronted about the KJ Gas invoices. (Id., ¶58 at 16) Not only is such an assertion

implausible on its face given Defendant’s education and experience, the government found

evidence that Defendant fully understood and even used the word “fraud” in his personal life.

When a civil lawsuit was filed against him in 2014 by American Express Bank for failing to pay a

credit card charge, Defendant sought to dismiss the lawsuit by alleging that he was defrauded by

the business. Defendant wrote a letter stating that he was not responsible for a credit card charge



                                                4
    Case 1:17-cr-00045-PLM ECF No. 29 filed 07/03/17 PageID.150 Page 5 of 7



because the charge involved a “fraudulent company” and that the contract resulting in the charge

“was signed under false pretenses . . . .” (Exhibit 2: Dec. 4, 2014 letter re summons) Defendant

demonstrated that he fully understood what “fraud” meant when he sought to avoid paying for a

service he claimed was never actually provided to him.

        Fourth, Defendant’s actions immediately after he asked HMI representatives to leave his

property provide insight into what Defendant knew before they knocked on his door. On October

29, 2015, the very next day, Defendant created and executed a “QuitClaim Deed” he found on the

Internet, which purports to transfer all of his legal interest in his real property to his wife. (Exhibit

3: Quitclaim Deed)       Defendant hurriedly sought to protect his assets from HMI and law

enforcement when they inevitably would seek the return of the stolen money. This is not one of

the first steps an individual who honestly believed he was running a legitimate company would

take when first questioned about his business dealings by his only customer.

        Fifth, shortly after he knew HMI was investigating the fraud, Defendant took steps to

minimize the evidence of his guilty knowledge. On November 18, 2015, Defendant sent Akers a

text message that read: “No phone or email or text communication.” (Exhibit 4: Photo of Grimm

Text Message to Akers) When Akers met with Defendant in person the next day, Defendant said:

“I should ask you if you’re wearing a wire,” and further indicated that Akers should prove to him

that he was not wearing a wire. Defendant also told Akers that, “I’m sure they don’t have wires

and taps on the boat,” but that he and his wife were hardly talking in his house and warned Akers

that “your house could be wired.” 1

        Those are not the actions and statements of a legitimate businessman who got caught up in

someone else’s fraudulent scheme and deliberately avoided confirming that his invoices were a


1
 The full audio recording of the conversation was produced to Defendant in discovery and will
be made available to the Court at sentencing, if necessary.
                                                   5
    Case 1:17-cr-00045-PLM ECF No. 29 filed 07/03/17 PageID.151 Page 6 of 7



total sham. They reflect the guilty mind of a criminal who obtained and deposited 62 HMI checks

totaling $1,772,726.14 “for not doing anything,” and attempted to minimize the damage and

consequences.

       The government acknowledges that Defendant has returned a substantial sum of stolen

money that was still in his possession when law enforcement discovered the fraud, liquidated

tangible assets that he purchased using stolen money, and made other efforts to repay the money

he stole. Indeed, the return of over $1 million of stolen money to a victim is extraordinary.

Nevertheless, criminal defendants cannot buy their way out of prison by returning what they stole

after their fraud has been discovered. Defendant returned the money to HMI’s insurer because it

was the right thing to do, because he had saved much of the net proceeds for his retirement (unlike

most defendants who no longer have the money), and because he knew the government was

preparing to seize and forfeit any remaining assets that could be traced to the fraud. While

Defendant’s pre-sentencing restitution payments are to be commended, returning stolen money to

the victim should not be rewarded by this Court in the form of a downward variance.

       Finally, a downward variance is not appropriate in a case where Defendant dragged his feet

and waited until June 2016 to finally proffer information to the government – long after he knew

the fraud was discovered and the FBI executed a search warrant at his residence in December 2015.

Additionally, the government believes that Defendant was not fully truthful during his proffer

interview with the FBI, including when he claimed not to know the meaning of the word “fraud.”

(R.28: PSR ¶45)      By comparison, co-conspirator Akers immediately reached out to law

enforcement in November 2015 to begin cooperating with the investigation, negotiated a pre-

indictment resolution, and earned a substantial assistance departure. In this case, the government

expended considerable additional effort to continue its investigation of Defendant’s role and trace



                                                6
    Case 1:17-cr-00045-PLM ECF No. 29 filed 07/03/17 PageID.152 Page 7 of 7



all of the fraudulent proceeds before presenting the matter to the Grand Jury for indictment.

Defendant’s reluctance to come forward stands in stark contrast to his co-conspirator’s early

acceptance of responsibility.

                                          Conclusion

       The government respectfully recommends a sentence of imprisonment within the advisory

Sentencing Guideline range of 33 to 41 months. On this record, Defendant cannot demonstrate

that a downward variance from the Sentencing Guidelines is appropriate in light of his failure to

honestly admit to this Court that he knew that he was committing a fraud against HMI long before

the scheme was discovered.

                                                    Respectfully submitted,

                                                    ANDREW BYERLY BIRGE
                                                    Acting United States Attorney


Dated: July 3, 2017                                  /s/ Christopher M. O’Connor
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                                               7
